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UNITED STATES DISTRICT COURT                         SOUTHERN DISTRICT OF TEXAS

                                   HOUSTON DIVISION

Quantlab Technologies Ltd. (BVI), et al.
  Plaintiff(s),

v.                                                         Case No. 4:09−cv−04039

Vitaliy Godlevsky, et al.
   Defendant(s).



                             NOTICE OF SETTING
                               PLEASE TAKE NOTICE

                                HEARING: Motion Hearing
                             RE: Motion for Attorney Fees − #787
                            Motion for Miscellaneous Relief − #869
                            Motion for Miscellaneous Relief − #871
                                     DATE:     1/31/2018
                                     TIME:    02:30 PM
                                  HAS BEEN SET BEFORE
                                JUDGE KEITH P. ELLISON

                            UNITED STATES COURTHOUSE
                             515 RUSK COURTROOM 3−A
                               HOUSTON, TEXAS 77002.

           ALL PARTIES MAY APPEAR BY TELEPHONE BY CALLING IN
             ON THE COURT'S DIAL−IN NUMBER AT 713−250−5238.




David J. Bradley, Clerk                                              Date: January 18, 2018
By Deputy Clerk, A. Rivera
